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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                              EASTERN DISTRICT OF CALIFORNIA
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10       UNITED STATES OF AMERICA,                   D.C. No. 1:14-cr-00189-AWI-BAM-2
                                                     CTA No. 15-10455
11                         Plaintiff - Appellee,
                   v.                                ORDER GRANTING EXTENSION OF
12
                                                     TIME TO FILE NOTICE OF APPEAL
         HOLLY GITMED,
13
14                     Defendant-Appellant.
     ___________________________________/            (Docs. 109, 110)
15
16         On August 28, 2015, this Court entered judgment on Defendant’s case. Doc. 103.
17 Pursuant to Federal Rule of Appellate Procedure 4(b)(1)(A), Defendant had fourteen days within
18 which to file her notice of appeal. Defendant did not file a notice of appeal until September 14,
19 2015. Doc. 104. On September 18, 2015, the Ninth Circuit has remanded this matter for the sole
20 purpose of determining whether the time filing of the notice of appeal should be extended
21 pursuant to Rule 4(b)(4), based upon a finding a excusable neglect or good cause. See Fed. R.
22 App. P. 4(b)(4). “[W]hen a notice of appeal is filed within the 30-day extension period during
23 which a motion to extend time may be filed, the district may grant a subsequently filed motion to
24 extend time, thereby validating the notice of appeal nunc pro tunc.” United States v. Layton, 855
25 F.3d 1388,1415 (9th Cir. 1988). On September 21, 2015, Defendant filed a request for leave to
26 file an untimely appeal. For the following reasons, that request will be granted.
27         Defense counsel has declared and provided documentary evidence to support the fact that
28 he prepared a notice of appeal for filing on September 6, 2015. Doc. 110 at 2, ¶4. Counsel

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 1 directed his staff to file the notice of appeal once the Defendant approved. Id. Counsel
 2 discovered on September 14, 2015, that his office staff had not filed the notice of appeal as
 3 directed. Id. at ¶5. Counsel attributes that failure to a death in the family of his filing and
 4 calendar clerk. Id. at ¶6
 5          In order to determine whether neglect is excusable the Court looks to the four factors
 6 articulated by the Supreme Court in Pioneer: (1) the danger of prejudice to the opposing party;
 7 (2) the length of the delay and its potential impact on the proceedings; (3) the reason for the
 8 delay; and (4) whether the movant acted in good faith. Pioneer Inv. Servs. Co. v. Brunswick
 9 Assocs. Ltd., 507 U.S. 380, 394 (1993); see Lemoge v. United States, 587 F.3d 1188, 1192 (9th
10 Cir. 2009). “Excusable neglect” can be found in circumstances when the delay was caused by
11 circumstances within the movant's control. Pincay v. Andrews, 389 F.3d 853, 855 (9th Cir. 2004)
12 (en banc).
13          Counsel’s letter supports a finding of excusable neglect. As to the first and second
14 considerations, because the Defendant’s delay in filing her notice of appeal was only 7 days, the
15 impact of the delay is limited and it poses no danger of prejudice to the United States. As to the
16 third consideration, the Court has no reason to doubt Counsel’s representation that Ms. Gitmed
17 authorized the filing of the notice of appeal prior to the deadline or that his office’s failure to file
18 the notice of appeal was caused by a death in the family of one of his employees. That delay is
19 understandable. Fourth and finally, as soon as Counsel was aware of the failure, he filed the
20 notice of appeal and then quickly thereafter filed this motion to extend time; counsel acted in
21 good faith to remedy his mistake.
22          Based on the foregoing, IT IS HEREBY ORDERED that:
23       1. Defendant’s motion to extend time for filing a notice of appeal to thirty days is
24           GRANTED nunc pro tunc;
25       2. The Clerk of the Court is respectfully directed to provide a copy of this order to the
26           Ninth Circuit Court of Appeal in reference to CTA No. 15-10455;
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 1      3. The Clerk of the Court is further respectfully directed to serve a copy of this order on
 2         Defendant’s counsel, Kevin Little, Esq., at P.O. Box 8656, Fresno, California 93747.
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     IT IS SO ORDERED.
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 5 Dated: September 29, 2015
                                                SENIOR DISTRICT JUDGE
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